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                                                        #:10914


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                             SPEX TECHNOLOGIES, INC.
                       11
RUSS, AUGUST & KABAT




                       12                       UNITED STATES DISTRICT COURT
                       13                     CENTRAL DISTRICT OF CALIFORNIA
                       14
                       15    SPEX TECHNOLOGIES, INC.,               Case No. 2:16-cv-07349-JVS-AGR
                       16               Plaintiff,                  DECLARATION OF JACOB R.
                       17                                           BUCZKO IN SUPPORT OF
                                   v.                               PLAINTIFF SPEX
                       18                                           TECHNOLOGIES, INC.’S MOTION
                                                                    TO TAX COSTS FOR VISUAL
                       19    APRICORN, INC.,                        AIDS PURSUANT TO 28 U.S.C. §
                                                                    1920(4) AND L.R. 54-3.12
                       20
                                        Defendant.
                       21                                           Hearing:
                       22                                           Date: May 4, 2020
                                                                    Time: 1:30 p.m.
                       23                                           Place: Courtroom 10C
                                                                    Judge: Hon. James V. Selna
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                                              DECLARATION OF JACOB R. BUCZKO
                       Case 2:16-cv-07349-JVS-AGR Document 307-2 Filed 04/06/20 Page 2 of 3 Page ID
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                        1           I, Jacob R. Buczko, declare and state as follows:
                        2           1.     I am a member of the State Bar of California and an attorney at the firm
                        3    of Russ, August & Kabat, counsel of record for Plaintiff SPEX Technologies, Inc.
                        4    in the above-captioned action. I submit this declaration in support of Plaintiff SPEX
                        5    Technologies, Inc.’s Motion to Tax Costs for Visual Aids Pursuant to 28 U.S.C. §
                        6    1920(4) and L.R. 54-3.12. I have personal knowledge of the facts set forth herein,
                        7    and if called upon to testify, could and would testify competently thereto.
                        8           2.     Attached as Exhibit A is a true and correct copy of highlighted invoices
                        9    from TrialEdge LLC for the preparation of demonstrative visual aids at trial. The
                       10    highlighted amounts pertain to preparation of demonstrative visual aids to be used
                       11    at trial in this matter.
RUSS, AUGUST & KABAT




                       12           3.     Attached as Exhibit B is a true and correct copy of this Court’s Minute
                       13    Order at TCL Comms. Technology Holdings, Ltd. v. Telefonaktienbolaget LM
                       14    Ericsson et al, SACV 14-00341 JVS (ANx) (C.D. Cal. February 22, 2018).
                       15           4.     SPEX is seeking taxation of only the highlighted items in Exhibit A,
                       16    which concern the preparation of demonstrative visual aids to be used at trial by Erin
                       17    Doyle and Sarah Southwell, who were involved only with preparation of trial
                       18    demonstratives.       Jeremiah Kelman of TrialEdge worked to prepare trial
                       19    demonstrative visual aids, but also provided higher-level consulting services. SPEX
                       20    is not seeking taxation of Mr. Kelman’s billed entries.
                       21           5.     Leveracity LLC performed work to prepare trial demonstrative visual
                       22    aids, but also provided technical assistance including “hot seat” operation at trial.
                       23    SPEX is not seeking taxation of Leveracity LLC’s invoiced amounts.
                       24
                       25           I declare under penalty of perjury pursuant to the laws of the United States
                       26    that the foregoing is true and correct.
                       27           Executed this 6th day of April, 2020 at Los Angeles, California.
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                                                  DECLARATION OF JACOB R. BUCZKO
                       Case 2:16-cv-07349-JVS-AGR Document 307-2 Filed 04/06/20 Page 3 of 3 Page ID
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                        1                                                    By: /s/ Jacob R. Buczko
                        2                                                    Jacob R. Buczko
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RUSS, AUGUST & KABAT




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                                             DECLARATION OF JACOB R. BUCZKO
